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F. #2020R00016

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA
                                                                 AMENDED COMPLAINT AND AFFIDAVIT
          - against -                                            IN SUPPORT OF AN APPLICATION FOR
                                                                 ARREST WARRANTS
LUIS ENRIQUE MARTINELLI LINARES
and RICARDO ALBERTO MARTINELLI                                   (T. 18, U.S.C., §§ 1956(a)(1)(B)(i), 1956(h),
LINARES,                                                         1957 and 2)

                                Defendants.                      No. 20-M-498

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EASTERN DISTRICT OF NEW YORK, SS:

                   MICHAEL LEWANDOWSKI, being duly sworn, deposes and says that he is a

Special Agent with the Federal Bureau of Investigation (“FBI”), duly appointed according to law

and acting as such.1

                   Upon information and belief, in or about and between August 2009 and

September 2015, both dates being approximate and inclusive, within the Eastern District of New

York and elsewhere, the defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO

ALBERTO MARTINELLI LINARES, together with others, did knowingly and intentionally

conspire to commit offenses under Title 18, United States Code, Sections 1956 and 1957, to wit:




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  On June 27, 2020, the Honorable Robert M. Levy signed a complaint and arrest warrants for
the defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO
MARTINELLI LINARES charging them with violations of Title 18, United States Code, Section
1956(h). This amended complaint adds charges for violations of Title 18, United States Code,
Sections 1956(a)(1)(B)(i), 1957 and 2.
                       (a)      to transport, transmit, and transfer, and attempt to transport,

transmit and transfer monetary instruments and funds from a place in the United States to and

through a place outside the United States and to a place in the United States from and through a

place outside the United States with the intent to promote the carrying on of a specified unlawful

activity, to wit: an offense against a foreign nation involving bribery of a public official, in

violation of the Penal Code of the Republic of Panama; contrary to Title 18, United States Code,

Section 1956(a)(2)(A);

                       (b)     to conduct and attempt to conduct financial transactions involving

the proceeds of specified unlawful activity, to wit: an offense against a foreign nation involving

bribery of a public official, in violation of the Penal Code of the Republic of Panama; knowing

that the property involved represented proceeds of some form of unlawful activity, and knowing

that the transaction was designed in whole and in part to conceal and disguise the nature,

location, source, ownership and control of the proceeds of the specified unlawful activity;

contrary to Title 18, United States Code, Section 1956(a)(1)(B)(i); and

                       (c)     to engage and attempt to engage in a monetary transaction in

criminally derived property of a value greater than $10,000 and is derived from specified

unlawful activity, to wit: an offense against a foreign nation involving bribery of a public

official, in violation of the Penal Code of the Republic of Panama; contrary to Title 18, United

States Code, Section 1957.

                          (Title 18, United States Code, Section 1956(h))

               Upon information and belief, on or about the dates set forth below, within the

Eastern District of New York and elsewhere, the defendants LUIS ENRIQUE MARTINELLI


                                                  2
LINARES and RICARDO ALBERTO MARTINELLI LINARES, together with others, did

knowingly and intentionally conduct and attempt to conduct a financial transaction representing

the proceeds of specified unlawful activity, to wit: an offense against a foreign nation involving

bribery of a public official, in violation of the Penal Code of the Republic of Panama; knowing

that the property involved represented proceeds of some form of unlawful activity, and knowing

that the transaction was designed in whole and part to conceal and disguise the nature, location,

source, ownership and control of the proceeds of the specified unlawful activity, as follows:

                  Date                                     Wire
             November 12, 2013       Wire transfer of $899,978.32 from Bank 1,
                                     through accounts at Bank 8 in New York, New
                                     York, to Bank 5
             December 10, 2013       Wire transfer of $30,887.21 from Bank 1,
                                     through accounts at Bank 8 in New York, New
                                     York, to Bank 5

                 (Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2)

               Upon information and belief, on or about the dates set forth below, within the

Eastern District of New York and elsewhere, the defendant LUIS ENRIQUE MARTINELLI

LINARES, together with others, did knowingly and intentionally engage and attempt to engage

in a monetary transaction by, through and to a financial institution, affecting interstate and

foreign commerce, in criminally derived property of a value greater than $10,000, such property

having been derived from a specified unlawful activity, to wit: an offense against a foreign

nation involving bribery of a public official, in violation of the Penal Code of the Republic of

Panama, as follows:




                                                  3
                    Date                                  Wire
              February 11, 2013     Wire transfer of $346,500.00 from Bank 2,
                                    through an account in New York, New York, at
                                    Bank 6, to an account in New Jersey at Bank 9
               August 26, 2015      Wire transfer of $570,000.00 from Bank 2,
                                    through an account in New York, New York, at
                                    Bank 6, to an account in Florida at Bank 6

               (Title 18, United States Code, Sections 1957 and 2)

               The source of your deponent’s information and the grounds for his belief are as

follows:

               1.      I have been a Special Agent with the FBI since 2010. I am currently

assigned to the International Corruption Unit at the FBI’s New York Division, and I have

received training in foreign bribery, kleptocracy, money laundering, fraud and other white-collar

crimes. During my career as an FBI Special Agent, I have received both formal and informal

training from the FBI and other institutions regarding computer-related investigations and

computer technology.

               2.      I am familiar with the information contained in this affidavit based on: (a)

my personal knowledge; (b) witness interviews, including statements from cooperating witnesses

who have been corroborated and found to be reliable; (c) my review of documents and other

evidence; (d) my communications with other law enforcement personnel; and (e) my training and

experience.

               3.      Except as explicitly set forth below, I have not distinguished in this

affidavit between facts of which I have personal knowledge and facts of which I learned from

other law enforcement agents. Because this affidavit is being submitted for the limited purpose

of establishing probable cause to arrest the defendants, I have not set forth each and every fact


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learned during the course of this investigation. Instead, I have set forth only those facts that I

believe are necessary to establish probable cause for the arrest warrants sought herein. In

addition, where the contents of documents, or the actions, statements and conversations of others

are reported herein, they are reported in sum and substance and in part, except where otherwise

indicated.

I.     The Defendants and Relevant Entities and Individuals
                 4.    The defendant LUIS ENRIQUE MARTINELLI LINARES (also referred

to herein as “LUIS MARTINELLI”) was a citizen of Panama and Italy. He was the brother of

the defendant RICARDO ALBERTO MARTINELLI LINARES. During the course of the

conspiracy, LUIS MARTINELLI travelled several times to the United States.

                 5.    The defendant RICARDO ALBERTO MARTINELLI LINARES (also

referred to herein as “RICARDO MARTINELLI LINARES”) was a citizen of Panama and Italy.

He was the brother of the defendant LUIS ENRIQUE MARTINELLI LINARES. During the

course of the conspiracy, RICARDO MARTINELLI LINARES travelled several times to the

United States.

                 6.    The Panama Government Official2 was a high-ranking government official

in Panama from in or about 2009 until in or about 2014. The Panama Government Official was a

“public servant” as that term is defined in the Penal Code of the Republic of Panama (“Panama

Penal Code”). The defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO

ALBERTO MARTINELLI LINARES were close relatives of the Panama Government Official.




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 Certain entities’ and individuals’ names have been anonymized for the purposes of this criminal
complaint. The identity of each of these entities and individuals is known to me.
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               7.      Odebrecht S.A. was a Brazilian holding company that, through its

subsidiaries and companies in which it was a majority shareholder (collectively “Odebrecht” or

the “Company”), conducted business in multiple industries, including engineering, construction,

infrastructure, energy, chemicals, utilities and real estate. Odebrecht had its headquarters in

Salvador, state of Bahia, Brazil, and operated in at least 27 other countries, including the United

States.

               8.      “Offshore Company A” was a British Virgin Islands corporation.

               9.      “Offshore Company B” was a British Virgin Islands corporation.

               10.     “Offshore Company C” was a British Virgin Islands corporation.

               11.     “Offshore Company D” was a Bahamian corporation.

               12.     “Offshore Company E,” “Offshore Company F,” “Offshore Company G,”

“Offshore Company H,” and “Offshore Company I” were all corporate entities.

               13.     “Bank 1” was a financial institution located in Switzerland.

               14.     “Bank 2” was a financial institution located in Switzerland.

               15.     “Bank 3” was a financial institution located in Switzerland.

               16.     “Bank 4” was a financial institution located in Switzerland.

               17.     “Bank 5” was a financial institution located in Switzerland.

               18.     “Bank 6” was a U.S. bank that held correspondent accounts in New York,

New York.

               19.     “Bank 7” was a U.S. bank that held correspondent accounts in New York,

New York.




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               20.     “Bank 8” was a U.S. bank that held correspondent accounts in New York,

New York.

               21.     “Bank 9” was a U.S. bank.

II.    Panama Penal Code

               22.     The Panama Penal Code made it a criminal offense to bribe a public

servant and provided, in relevant part: “Whoever, by any means, offers, promises or delivers to a

public servant a donation, promise, money or any other benefit or advantage to perform, delay or

omit any act proper to his position or employment or in violation of his obligations, will be

punished with imprisonment of three to six years.”

III.   The Criminal Scheme

       A.      Overview of the Odebrecht Bribery Scheme

               23.     On December 21, 2016, Odebrecht S.A. pleaded guilty in the Eastern

District of New York to a one-count criminal information charging it with conspiracy to violate

the anti-bribery provisions of the Foreign Corrupt Practices Act, in violation of 18 U.S.C. § 371

and 15 U.S.C. § 78dd-3. See ECF Docket No. 16-CR- 643. As part of its plea agreement,

Odebrecht S.A. admitted that, in or about and between 2001 and 2016, Odebrecht, through

certain of its employees and agents, and together with other co-conspirators, engaged in a

massive bribery scheme in which the co-conspirators agreed with others to corruptly pay over

$700 million in bribes to, and for the benefit of, public servants, foreign officials, foreign

political parties, foreign political party officials and foreign political candidates to obtain and

retain business and to gain an advantage and benefit from the public servants and foreign

officials in various countries around the world, including public officials and public servants in


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Panama. Odebrecht’s bribery scheme included corrupt payments and the provision of other

things of value.

               24.     Odebrecht concealed the nature, source, ownership and control of the

proceeds of the bribery scheme by funneling the proceeds of the scheme through offshore shell

company bank accounts to the ultimate beneficiaries of the bribes, namely, public servants,

foreign officials, foreign political parties, foreign political candidates and their representatives.

               25.     Odebrecht, together with certain of its employees and agents, caused wire

transfers to be made from Odebrecht-related bank accounts to offshore shell company bank

accounts controlled by Odebrecht, including through New York-based accounts, such as those at

Banks 6, 7 and 8. Funds intended for the illegal bribe payments were then transferred through

multiple offshore shell company bank accounts throughout the world, including through New

York-based accounts, before reaching the final bribe recipients.

               26.     Odebrecht used an agent in the United States to purchase offshore shell

companies for Odebrecht, to send and receive documents to facilitate the establishment of

offshore bank accounts in the name of offshore shell companies for Odebrecht and to send and

receive documents, certain of which contained false and fraudulent information, to cause

financial transactions to be conducted from offshore shell company bank accounts, including

financial transactions that utilized U.S. correspondent bank accounts.

       B.      Overview of the Defendants’ Role in the Odebrecht Bribery Scheme

               27.     In or about and between August 2009 and July 2014, the defendants LUIS

ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO MARTINELLI LINARES,

together with others, participated in the Odebrecht bribery scheme by, among other things,


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serving as intermediaries for corrupt payments and the provision of other things of value that

Odebrecht offered and provided to the Panama Government Official. Among other things, LUIS

MARTINELLI and RICARDO MARTINELLI LINARES established offshore bank accounts in

the names of offshore shell companies to receive and disguise bribe payments from Odebrecht

made for the benefit of the Panama Government Official.

               28.    From approximately August 2009 to September 2015, the defendants

LUIS ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO MARTINELLI

LINARES, together with others, took a number of steps to open and manage secret bank

accounts held in the names of shell companies in foreign jurisdictions, which were used to

receive, further transfer and deliver bribe payments that Odebrecht made and caused to be made

for the benefit of the Panama Government Official. Specifically, LUIS MARTINELLI and

RICARDO MARTINELLI LINARES established shell companies in foreign jurisdictions;

served as the signatories on certain of the shell company bank accounts; and personally sent and

caused to be sent wire transfers through the structure of shell company bank accounts to conceal

and spend bribery proceeds.

               29.    In or about and between 2009 and 2012, the defendants LUIS ENRIQUE

MARTINELLI LINARES and RICARDO ALBERTO MARTINELLI LINARES opened bank

accounts in Switzerland for the purpose of receiving, further transferring and delivering bribe

payments from Odebrecht for the benefit of the Panama Government Official in the name of

Offshore Company A at Bank 1, Offshore Company B and Offshore Company I at Bank 2,

Offshore Company C at Bank 3, Offshore Company D at Bank 4, and Offshore Company E,




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Offshore Company F, Offshore Company G and Offshore Company H, all at Bank 5 (together

the “Offshore Company Accounts”).

               30.     The purpose of opening and operating the Offshore Company Accounts

was to promote, assist, facilitate, conceal and serve as intermediaries for Odebrecht’s payment of

bribes for the benefit of the Panama Government Official so that Odebrecht could obtain an

improper business advantage and gain and retain business in Panama by causing the Panama

Government Official to perform acts proper to his/her position in his/her official capacity and in

violation of his/her obligations.

               31.     In total, in or about and between 2009 and 2012, the Offshore Company

Accounts received approximately $28 million in bribe proceeds from Odebrecht for the benefit

of the Panama Government Official. At least approximately $19 million of those bribe proceeds

were transferred through U.S. correspondent bank accounts, including Bank 6 and Bank 7 in

New York, New York, into the Offshore Company Accounts.

               32.     For example, financial records show that on or about July 27, 2010, a wire

transfer of approximately $350,000.00 U.S. dollars were transferred from an offshore shell

company bank account controlled by Odebrecht and located in Portugal to the Offshore

Company A account at Bank 1, through an account at Bank 6 in New York, New York.

               33.     The defendants LUIS ENRIQUE MARTINELLI LINARES and

RICARDO ALBERTO MARTINELLI LINARES later conducted numerous additional financial

transactions through U.S. banks, some of which were located in New York, New York, involving

the proceeds of bribe payments from Odebrecht.




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              34.     Financial records show that on or about February 11, 2013, the defendant

LUIS ENRIQUE MARTINELLI LINARES caused the transfer of approximately $346,500.00

U.S. dollars from the Offshore Company I account at Bank 2, through an account at Bank 6 in

New York, New York, to an account in New Jersey at Bank 9. Records obtained from a yacht

broker in New York show that this transfer was a partial payment for the purchase of a yacht.

              35.     Financial records show that on or about November 12, 2013, the

defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO

MARTINELLI LINARES caused the transfer of approximately $899,978.32 U.S. dollars from

the Offshore Company A account at Bank 1 to the Offshore Company E account at Bank 5,

through accounts at Bank 8 in New York, New York.

              36.     Financial records show that on or about December 10, 2013, the

defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO

MARTINELLI LINARES caused the transfer of approximately $30,887.21 U.S. dollars from the

Offshore Company A account at Bank 1 to the Offshore Company E account at Bank 5, through

accounts at Bank 8 in New York, New York.

              37.     Financial records show that on or about August 26, 2015, the defendant

LUIS ENRIQUE MARTINELLI LINARES caused the transfer of approximately $570,000.00

U.S. dollars from the Offshore Company I account at Bank 2 through an account at Bank 6 in

New York, New York, to an account at Bank 6 in Florida. Title transaction records show that

this transfer was a partial payment for the purchase of a condominium in Miami by a Florida

corporation on behalf of LUIS MARTINELLI.

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                    WHEREFORE, your deponent respectfully requests that arrest warrants be issued

     for the defendants LUIS ENRIQUE MARTINELLI LINARES and RICARDO ALBERTO

     MARTINELLI LINARES, so that they may be dealt with according to law. Your deponent

     further requests that the arrest warrants issued by the Honorable Robert M. Levy upon the

     original complaint in this matter, on June 27, 2020, remain in effect for purposes of extradition.




                     telephonically
     Sworn to before me this
20
     __day of July, 2020


     THE HONORABLE VERA M. SCANLON
     UNITED STATES MAGISTRATE JUDGE
     EASTERN DISTRICT OF NEW YORK




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